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 4                                              NOTE: CHANGES MADE BY THE COURT
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10                               UNITED STATES DISTRICT COURT
11                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
       VIZIO, INC., a California corporation,
                                                   CASE NO. 8:17-CV-01175-DOC-JDE
13             Plaintiff,
       v.                                          ORDER GRANTING
14                                                 JOINT STIPULATION RE:
       LeECO V. LTD., an exempted company          SCHEDULING
15     with limited liability incorporated under   CONFERENCE AND LeECO V.
16     the laws of the Cayman Islands; LeECO
                                                   LTD.’S UNOPPOSED REQUEST TO
17     GLOBAL GROUP LTD., a corporation            FILE COUNTERCLAIM SEPARATE
       organized and existing under the laws of    FROM ANSWER
18     the People’s Republic of China; LELE
       HOLDING, LTD., a British Virgin             [Filed Concurrently with Stipulation and
19     Islands Personal Holding Company;           Unopposed Request]
20     YUETING JIA, an individual; and
21     DOES 1 through 10,
22             Defendants.
23                                                 JUDGE: Hon. David O. Carter

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                                                                     CASE NO. 8:17-CV-01175-DOC-JDE
                                          [PROPOSED] ORDER
       LA 133511665v3
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 1             The Court, having considered the parties’ Joint Stipulation to Continue Scheduling
 2     Conference; and LeEco V. Ltd.’s Unopposed Request to File Counterclaim Separate from
 3     Answer, hereby orders that:
 4             1. VIZIO may attend the presently set Scheduling Conference with a partner
 5                  level member of its legal team who is familiar with the case, other than
 6                 lead counsel.
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12             2. Defendant LeEco V. Ltd. may file its anticipated Counterclaim prior to and
13                 separate from its Answer to the claim(s) that remain following the Court’s
14                 decision on LeEco’s pending Motion to Dismiss.
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16     IT IS SO ORDERED.
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18     Dated: February 14, 2018
                                                Honorable David O. Carter
19                                              United States District Court Judge
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                                                      1                  CASE NO. 8:17-CV-01175-DOC-JDE
                                                    ORDER
       LA 133511665v3
